Form SJODM

                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of California

In Re: Dirk Hughes−Hartogs                                  Case No.: 12−56806 SLJ 13
    aka Dirk Hartogs                                Chapter: 13
          Debtor(s)




                                     ORDER AND NOTICE OF DISMISSAL
                                        FOR FAILURE TO COMPLY




    Notice is given the debtor(s) having failed to comply with this court's order filed on September 18, 2012 , this
case is DISMISSED.

   If the debtor(s) failed to comply with 11 U.S.C. §521(a)(1) and no extension of time was obtained under 11
U.S.C. §521(i)(3), this Order of Dismissal is effective the 46th day after the filing of the petition.

   It is so Ordered.




Dated: 10/2/12                                     By the Court:


                                                   Stephen L. Johnson
                                                   United States Bankruptcy Judge




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